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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

UNITED STATES OF AMERICA                      )
                                              )
VS                                            )    CASE NO.: 5:21-CR-9
                                              )
DELIA IBARRA ROJAS,                           )
                                              )
       Defendant.                             )

            DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION FOR
              ORDER ALLOWING THE GOVERNMENT TO MAINTAIN
                      CUSTODY OF SEIZED PROPERTY

       COMES NOW, DELIA IBARRA ROJAS, Defendant in the above-styled action, by

and through undersigned counsel, files this response to the Government’s Motion for

Order Allowing the Government to Maintain Custody of Seized Property (Doc. 98).

Defendant shows as follows:

                                             1.

       The Government has seized property from Mrs. Rojas and multiple other

defendants as indicated in its Motion (Doc. 98).

                                             2.

       Mrs. Rojas is the rightful and lawful owner of the cash seized from Mrs. Rojas

totaling $14,800.00 and $1,100.00 seized from her at 132B E. Bazell Street, Reidsville,

Georgia.

                                             3.

       Mrs. Rojas objects to the Government’s seizure and forfeiture of her property, as it

was neither used for, nor represents the proceeds of, any unlawful activity.
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                                             4.

       Mrs. Rojas does not object to the Government’s motion for an order allowing it to

maintain custody of the seized property until the conclusion of this case and those

proceedings pursuant to 18 U.S.C. § 983.

                                             5.

       The Defendant respectfully requests the Court allow her to reserve the right to

petition the Court for the return of property should the same become necessary.

       RESPECTFULLY SUBMITTED, this 21st day of December, 2021.

                                           TUCKER & BROWNING LAW, P.C.


                                           /s/ Adrienne Browning
                                           Adrienne Blair Browning
                                           Attorney for the Defendant Delia Ibarra Rojas
                                           Georgia Bar No. 974637

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                              CERTIFICATE OF SERVICE

      I hereby certify that I have this day served the Assistant United States Attorney, at

P. O. Box 8970, Savannah, Georgia, 31412 with a true and correct copy of the within and

foregoing pleading by: Electronic Submission.

      This the 21st day of December, 2021.


                                         TUCKER & BROWNING LAW, P.C.


                                         /s/ Adrienne Browning
                                         Adrienne Blair Browning
                                         Attorney for the Defendant Delia Ibarra Rojas
                                         Georgia Bar No. 974637

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